 Case 2:17-cv-07083-RGK-MRW Document 465 Filed 12/06/18 Page 1 of 10 Page ID
                                 #:21725


 1   Christopher S. Marchese (SBN 170239), marchese@fr.com
     FISH & RICHARDSON P.C.
 2
     633 West Fifth Street, 26th Floor
 3   Los Angeles, CA 90071
     Tel: (213) 533-4240, Fax: (858) 678-5099
 4

 5   Frank Scherkenbach (SBN 142549), scherkenbach@fr.com
     Kurt L. Glitzenstein (Admitted Pro Hac Vice), glitzenstein@fr.com
 6
     FISH & RICHARDSON P.C.
 7   One Marina Park Drive
     Boston, MA 02210-1878
 8
     Tel: (617) 542-5070, Fax: (617) 542-8906
 9
     Olga I. May (SBN 232012), omay@fr.com
10   Markus D. Weyde (SBN 285956), weyde@fr.com
11   K. Nicole Williams (SBN 291900), nwilliams@fr.com
     Jared A. Smith (SBN 306576), jasmith@fr.com
12   FISH & RICHARDSON P.C.
13   12390 El Camino Real
     San Diego, CA 92130
14   Tel: (858) 678-4745, Fax: (858) 678-5099
15
     [Additional Counsel listed on last page.]
16

17   Attorneys for Plaintiffs, CARL ZEISS AG and ASML NETHERLANDS B.V.

18                  IN THE UNITED STATES DISTRICT COURT
19        FOR THE CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

20   CARL ZEISS AG and ASML
     NETHERLANDS B.V.,                            Case No. 2:17-cv-07083- RGK (MRWx)
21

22
                  Plaintiffs,                     PLAINTIFFS’ OBJECTIONS TO
     v.                                           DEFENDANTS’ DEMONSTRATIVES
23
   NIKON CORPORATION and                          Trial Date: December 4, 2018
24
   NIKON INC.,                                    Judge:      Hon. R. Gary Klausner
25         Defendants.                            Courtroom: 850, 8th Floor
26

27

28

                                       PLAINTIFFS’ OBJECTIONS TO DEMONSTRATIVES
                                                     Case No. 2:17-cv-07083-RGK (MRWx)
 Case 2:17-cv-07083-RGK-MRW Document 465 Filed 12/06/18 Page 2 of 10 Page ID
                                 #:21726


 1          Plaintiffs, Carl Zeiss AG and ASML Netherlands B.V. (“Plaintiffs”) hereby offer
 2   written objections to certain demonstrative exhibits that Defendants Nikon Corporation
 3   and Nikon Inc. (“Nikon” or “Defendants”) intend to use in with their expert witnesses
 4   Ms. Davis and Dr. Darrell slides.
 5          A.     Ms. Davis Should Be Precluded From Relying on Testimony Not
                   Cited In Her Expert Report
 6

 7          Plaintiffs object to a number of Ms. Davis’s demonstratives that show testimony
 8   that was not cited or relied upon in her expert report.
 9                 1.     Testimony From Ariel Reich (DDX-9.5)
10          First, Plaintiffs’ object to DDX-9.5 which, as shown below, contains an excerpt
11   from the deposition of HP’s witness Ariel Reich. This testimony was not cited or
12   discussed in Ms. Davis’s report. Indeed, during the meet-and-confer process prior to
13   Plaintiffs lodging these objections, Nikon admitted that Ms. Davis’s report did not cite
14   to this specific testimony. Nikon, however, argued that because Ms. Davis’s report
15   discusses other testimony from Mr. Reich and because Ms. Davis generally discusses the
16   transaction in which Plaintiffs bought patents from HP, she is entitled to opine on this
17   testimony. Not so. Rule 26 requires more than simply general testimony concerning
18   similar subject matter—it requires “a complete statement of all opinions the witness will
19   express and the basis and reasons for them.” Fed. R. Civ. P. 26(a)(2)(B)(1); Fed. R. Civ.
20   P. 26(a)(2). Allowing Nikon to present this new expert opinion only disclosed for the
21   first time in the middle of trial will be highly prejudicial to Plaintiffs, and thus this
22   demonstrative and testimony discussing this previously-undisclosed testimony should be
23   excluded. See Fed. R. Civ. P. 37(c)(1); see also Yeti by Molly, Ltd. v Deckers Outdoor Corp., 259
24   F.3d 1101, 1106 (9th Cir. 2001) (“Rule 37(c)(1) gives teeth to [the requirements of Fed.
25   R. Civ. P. 26(a)(2)(C)] by forbidding the use at trial of any information required to be
26   disclosed by Rule 26(a) that is not properly disclosed.”)
27          Slide DDX-9.5 is additionally objectionable under Rule 403, as the emphasis added
28   by Nikon on top of the deposition testimony is likely to confuse the jury into thinking

                                               1
                                     PLAINTIFFS’ OBJECTIONS TO DEMONSTRATIVES
                                                   Case No. 2:17-cv-07083-RGK (MRWx)
 Case 2:17-cv-07083-RGK-MRW Document 465 Filed 12/06/18 Page 3 of 10 Page ID
                                 #:21727


 1   the question is evidence. As can be seen below, Nikon has underlined in red the question,
 2   giving the question more emphasis than the answer:
 3

 4

 5

 6

 7

 8

 9

10   Thus, even if this testimony were discussed in Ms. Davis’s report (which it is not), Nikon
11   should not be allowed to show the slide as because of the risk of misleading the jury and
12   jury confusion.
13                2.     Testimony from Andreas Zeiler (DDX-9.6, DDX-9.10)
14
           Next, Plaintiffs object to Ms. Davis’ demonstrative slides DDX-9.6 and DDX-
15
     9.10 containing testimony from Dr. Andreas Zeiler. While Ms. Davis’s report does list
16
     Dr. Zeiler’s deposition as part of her “materials considered,” her report does not contain
17
     a single citation to Dr. Zeiler’s deposition transcript. Yet Ms. Davis’s demonstratives
18
     now contains excerpts of that testimony—excerpts that appear nowhere in her report.
19
     Because Ms. Davis didn’t cite, discuss, or otherwise disclose any reliance on Dr. Zeiler’s
20
     testimony in her report, she should be precluded from opining on it at trial.
21
           Plaintiffs additionally object to DDX-9.6 under FRE 403 because Defendants
22
     have omitted part of Dr. Zeiler’s answer in the excerpt they reproduce on the slide, which
23
     is misleading and prejudicial. As seen below, by omitting part of the answer, Nikon has
24
     materially changed the answer as the omitted portion provides additional explanation
25
     regarding the calculation done by Zeiss’s accounting:
26

27

28

                                             2
                                  PLAINTIFFS’ OBJECTIONS TO DEMONSTRATIVES
                                                Case No. 2:17-cv-07083-RGK (MRWx)
 Case 2:17-cv-07083-RGK-MRW Document 465 Filed 12/06/18 Page 4 of 10 Page ID
                                 #:21728


 1

 2                    Demonstrative                             Actual Testimony
                                                           (omitted portion highlighted)
 3

 4
                                                            Q. Have you seen any allocation
 5                                                      of any portion of the purchase price
                                                        to any of the individual patents and
 6                                                      applications acquired from Hewlett-
                                                        Packard?
 7                                                          A. I haven't seen any in any
                                                        allocation for which anyone looked
 8
                                                        at the individual content of the
 9                                                      patents. I believe I recall I did have
                                                        to make an allocation for our
10                                                      accountants and, for that, I simply
                                                        divided the total amount we paid by
11                                                      the number of patents we acquired.
                                                            And for that purpose, I did not
12
                                                        have any look at the specific patents
13                                                      and I didn't have any specific
                                                        valuation information.
14

15   Nikon should not be able to cherry-pick part of an answer and use that partial testimony
16   to imply that Dr. Zeiler meant something other than he said. Thus, even if this testimony
17   were discussed in Ms. Davis’s report (which it’s not), this slide should be excluded for
18   this additional reason.
19         Lastly, DDX-9.6 and DDX-9.10 should be excluded because the testimony cited is
20   irrelevant to Ms. Davis’s disclosed hypothetical negotiation theory. The testimony on the
21   slides discusses how Zeiss accounted for its acquisition of the patents based on the cost
22   of the patents years after the purchase from HP and IV. According to Ms. Davis’s theory,
23   the parties to the hypothetical negotiation (which is the basis for her damages opinions)
24   would have been HP and Nikon for the ’163 patent, and IV and Nikon for the sensor
25   patents (the ʼ335 and the ʼ312 family of patents). As Ms. Davis’s report contains no
26   opinion where Zeiss would be a party to the hypothetical negotiation, she should not be
27   able to offer a new theory, especially in the middle of trial, regarding Zeiss’s later
28   accounting of the patents. These slides should be excluded.

                                             3
                                  PLAINTIFFS’ OBJECTIONS TO DEMONSTRATIVES
                                                Case No. 2:17-cv-07083-RGK (MRWx)
 Case 2:17-cv-07083-RGK-MRW Document 465 Filed 12/06/18 Page 5 of 10 Page ID
                                 #:21729


 1                 3.     Testimony from Mr. Toto (DDX-9.11 & DDX-9.12)
 2          Plaintiffs next object to DDX-9.11 and DDX-9.12, which contain excerpts from
 3   the deposition of Mr. Toto, a witness from Sony. Again, neither of the excerpts that
 4   appear in these demonstratives are cited, discussed, or otherwise disclosed in Ms. Davis’s
 5   report. In this instance, the deposition from which these excerpts are listed neither
 6   appear on Ms. Davis’s materials considered nor is it anywhere cited in the report. On the
 7   meet-and-confer, Nikon contended that Ms. Davis could nonetheless discuss this
 8   testimony at trial because Ms. Davis included and cited to another deposition of Mr.
 9   Toto taken for an entirely different case. For the reasons discussed above, this is plainly
10   insufficient and Ms. Davis should be precluded from using these demonstratives or
11   discussing this testimony at trial.
12
            B.     Ms. Davis Should Be Precluded from Characterizing the Transfer of
13
                   the Patents-in-Suit from ASML’s Subsidiary Tarsium to ASML and
14                 Zeiss as “Backdating”
15          Plaintiffs lastly object to a single aspect of DDX-9.14. This slide, shown below
16   (with objected-to-portion blown out) is a timeline regarding Plaintiffs’ acquisition of the
17   patents-in-suit. The slide characterizes one of the transfers as “Backdating.”
18

19

20

21

22

23

24

25

26          Neither the agreement nor any fact witness who has given testimony regarding this
27   transfer has said that this agreement “backdated” anything. The use of the word
28   “backdating” paints this transfer in a bad light, when it was anything but. Despite Nikon’s
                                               4
                                    PLAINTIFFS’ OBJECTIONS TO DEMONSTRATIVES
                                                  Case No. 2:17-cv-07083-RGK (MRWx)
 Case 2:17-cv-07083-RGK-MRW Document 465 Filed 12/06/18 Page 6 of 10 Page ID
                                 #:21730


 1   insistence that Plaintiffs prove-up ownership, Nikon has never identified any legal
 2   problems with the nunc pro tunc agreement, and by suggesting that Plaintiffs’
 3   “backdated” Nikon is trying to suggest otherwise.          Because the use of the term
 4   “backdated” is prejudicial, and other words with less negative connotation could similarly
 5   describe the same concept, this demonstrative should be excluded. Dr. Darrell should
 6   be precluded from offering opinions not contained in his expert report.
 7
           C.     Dr. Darrell Should Be Precluded From Relying on Prior Art that
 8                Nikon Dropped Before Trial
 9
           Plaintiffs object to DDX-2.24, 2.98, and 2.114 because these slides discuss prior
10
     art that Nikon is no longer pursuing and contains references to alleged prior art that has
11
     was not contained in Dr. Darrell’s report. Each of these slides purports to be a timeline
12
     of “prior art,” and each identifies a number of documents that, as is explicit on the slide,
13
     Nikon claims is “prior art,” as shown in the exemplar slide below:
14

15

16

17

18

19

20

21

22

23

24

25
           Prior to trial, Nikon told Plaintiffs that it would only be proceeding to trial on
26
     three references: the Yow Paper, the Yow Thesis, and Kosugi.               (See Exhibit. A
27
     (“Defendants are reducing the prior art references for trial to the following set:”).)
28

                                              5
                                   PLAINTIFFS’ OBJECTIONS TO DEMONSTRATIVES
                                                 Case No. 2:17-cv-07083-RGK (MRWx)
 Case 2:17-cv-07083-RGK-MRW Document 465 Filed 12/06/18 Page 7 of 10 Page ID
                                 #:21731


 1   Moreover, Plaintiffs reduced the claims they were asserting at trial to claim 16, and Dr.
 2   Darrell’s report does not contain any opinion that claim 16 is anticipated and/or obvious
 3   over Kosugi. Yet Kosugi, and a plethora of other references now appear on Nikon’s
 4   demonstratives as purported prior art.
 5         These slides are objectionable under at least Rules 402 and 403 as well as FRCP
 6   26 because they give the jury the false impression that Nikon is asserting significantly
 7   more prior art references than they actually are. Moreover, as Nikon abandoned
 8   references prior to trial, Nikon should not be able to talk about them, just as a party
 9   would not be able, for example, to talk about a cause of action that was dismissed or
10   abandoned prior to trial. Thus, these demonstrative should be excluded.
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                             6
                                  PLAINTIFFS’ OBJECTIONS TO DEMONSTRATIVES
                                                Case No. 2:17-cv-07083-RGK (MRWx)
 Case 2:17-cv-07083-RGK-MRW Document 465 Filed 12/06/18 Page 8 of 10 Page ID
                                 #:21732


 1   Dated: December 6, 2018     FISH & RICHARDSON P.C.
 2
                                 By: /s/ Christopher S. Marchese
 3

 4                                   Christopher S. Marchese (SBN 170239)
                                     marchese@fr.com
 5
                                     FISH & RICHARDSON P.C.
 6                                   633 West Fifth Street, 26th Floor
                                     Los Angeles, CA 90071
 7
                                     Tel: (213) 533-4240, Fax: (858) 678-5099
 8

 9                                   Frank Scherkenbach (SBN 142549)
                                     scherkenbach@fr.com
10                                   Kurt L. Glitzenstein (Admitted Pro Hac Vice)
11                                   glitzenstein@fr.com
                                     Proshanto Mukherji (Admitted Pro Hac Vice)
12                                   mukherji@fr.com
13                                   Jeffrey Shneidman (Admitted Pro Hac Vice)
                                     shneidman@fr.com
14
                                     Elizabeth G.H. Ranks (Admitted Pro Hac Vice),
15                                   ranks@fr.com
                                     FISH & RICHARDSON P.C.
16
                                     One Marina Park Drive
17                                   Boston, MA 02210-1878
                                     Tel: (617) 542-5070, Fax: (617) 542-8906
18

19

20

21

22

23

24

25

26

27

28

                                          7
                               PLAINTIFFS’ OBJECTIONS TO DEMONSTRATIVES
                                             Case No. 2:17-cv-07083-RGK (MRWx)
 Case 2:17-cv-07083-RGK-MRW Document 465 Filed 12/06/18 Page 9 of 10 Page ID
                                 #:21733


 1                                 Olga I. May (SBN 232012)
 2
                                   omay@fr.com
                                   Markus D. Weyde (SBN 285956) weyde@fr.com
 3                                 K. Nicole Williams (SBN 291900)
 4                                 nwilliams@fr.com
                                   Jared A. Smith (SBN 306576)
 5                                 jasmith@fr.com
 6                                 Oliver J. Richards (SBN 310972)
                                   orichards@fr.com
 7                                 FISH & RICHARDSON P.C.
 8                                 12390 El Camino Real
                                   San Diego, CA 92130
 9                                 Tel: (858) 678-5070, Fax: (858) 678-5099
10
                                   Jennifer Huang (Admitted Pro Hac Vice)
11                                 jhuang@fr.com
12                                 FISH & RICHARDSON P.C.
                                   60 South Sixth Street, Suite 3200
13                                 Minneapolis, MN 55402
14                                 Tel: (612) 335-5070, Fax: (612) 288-9696
15                                 Andrew R. Kopsidas (Admitted Pro Hac Vice)
16                                 kopsidas@fr.com
                                   FISH & RICHARDSON P.C.
17                                 1000 Maine Avenue, S.W., Ste. 1000
18                                 Washington, DC 20024
                                   Tel: (202) 783-5070, Fax: (202) 783-2331
19

20                                 Attorneys for Plaintiffs, CARL ZEISS AG and
                                   ASML NETHERLANDS B.V.
21

22

23

24

25

26

27

28

                                       8
                            PLAINTIFFS’ OBJECTIONS TO DEMONSTRATIVES
                                          Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 465 Filed 12/06/18 Page 10 of 10 Page ID
                                #:21734


 1                              CERTIFICATE OF SERVICE
 2         The undersigned hereby certifies that a true and correct copy of the above and
 3   foregoing document has been served on December 6, 2018, to all counsel of record who
 4   are deemed to have consented to electronic service via the Court’s CM/ECF system per
 5   Civil Local Rule 5.4. Any other counsel of record will be served by electronic mail,
 6   facsimile and/or overnight delivery.
 7

 8                                           /s/ Christopher S. Marchese
                                             Christopher S. Marchese
 9                                           marchese@fr.com
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                             9
                                  PLAINTIFFS’ OBJECTIONS TO DEMONSTRATIVES
                                                Case No. 2:17-cv-07083-RGK (MRWx)
